Case 1:20-cv-20520-RNS Document 1-3 Entered on FLSD Docket 02/05/2020 Page 1 of 23




                             Exhibit
                                       3
Case 1:20-cv-20520-RNS Document 1-3 Entered on FLSD Docket 02/05/2020 Page 2 of 23




      April 25, 2019

      VIA FEDEX and E-MAIL: contact@beycome.com
      Mr. Herve Barbera
      Mr. Philippe KalifaBeycome Brokerage Realty LLC
      Bar Invest Consulting LLC
      701 Brickell Ave, Suite 2040
      Miami, FL 33131

      Re: Affordable Aerial Photography, Inc. v. Beycome Brokerage Realty LLC f/k/a
          BAR Invest Realty LLC, and Bar Invest Consulting LLC f/k/a Bar Invest Realty
          LLC
          Our File No. 00022-0058

      Dear Messrs.,

      We write on behalf of our client, Affordable Aerial Photography, Inc., for purposes of
      resolving a case of copyright infringement against you by our client. This demand is
      privileged from disclosure pursuant to Federal Rule of Evidence 408.

      Please provide this letter to your general liability insurance carriers or other providers of
      insurance that may cover this claim and refer them to the enclosed demand pursuant to
      § 627.4137, Florida Statutes, for insurance information in this matter.

      Affordable Aerial Photography, Inc. (“AAP”)
      Our client is an experienced professional photographer who makes a living from
      photography. Robert Stevens is a high-end real estate photographer who makes his
      living photographing million-dollar homes for real estate agents. Stevens is an
      employee of his company, AAP, which provides photo shoots to a client’s specifications.
      Stevens is self-taught, but his photographs rival those taken by photographers who
      charge thousands more. AAP licenses its photos to agents pursuant to a written license.
      The license is granted only to the agent for whom the photos were taken.

      AAP retains all copyrights to its photographs. AAP licenses its copyrighted works, such
      as the one in this case, for commercial use.

      In 2011, AAP created an image entitled, “Jup_190_copy, Apr. 20, 2011,” hereinafter
      referred to as the “Work.”
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      Mr. Herve Barbera
      Mr. Philippe Kalifa
      Beycome Brokerage Realty LLC
      Bar Invest Consulting LLC
      April 25, 2019
      Page 2


      The Work at issue is shown below. At the time the Work was created, AAP applied
      copyright management information to the image.




      AAP registered the Work with the Register of Copyrights on July 30, 2013, and was
      assigned the registration number VA 1-953-574, a copy of which is enclosed.

      Infringement by Beycome Brokerage Realty LLC f/k/a BAR Invest Realty LLC, and Bar Invest
      Consulting LLC f/k/a Bar Invest Realty LLC (“BAR Invest Realty”)
      The infringement at issue was identified on October 16, 2018. We have enclosed
      contemporaneous evidence of the infringement by BAR Invest Realty. In addition to the
      infringement, AAP’s photograph was very obviously cropped as shown on the attached.

      You have employed our client’s Work in at least the manner indicated in the evidence
      attached. Your unauthorized use commenced on at least the date indicated above. You
      are fully aware that the Work you used is our client’s Work. No one from your
      company ever sought a license from our client to use the Work for any purpose.

      You have copied, displayed and distributed our client's Work without permission,
      license or consent. The use of a creator's photographic image without written consent or
      license violates the United States Code, Title 17, and The Copyright Act. The Copyright
      Act provides for entry of an injunction directing removal of the offending materials
      pending litigation. This letter shall serve as formal notice that you immediately cease
Case 1:20-cv-20520-RNS Document 1-3 Entered on FLSD Docket 02/05/2020 Page 4 of 23

      Mr. Herve Barbera
      Mr. Philippe Kalifa
      Beycome Brokerage Realty LLC
      Bar Invest Consulting LLC
      April 25, 2019
      Page 3


      and desist all unauthorized uses of our client’s Work. Any such further uses shall be at
      your peril.

      If you possess a contract, license, agreement, or writing on which you will rely for
      authorization of your use of our client’s Work, please provide us with this evidence so
      we may avoid further controversy or litigation. Otherwise, we will be forced to assume
      that your use violated the law.

      Damages
      Copyright law provides several different elements of compensation to AAP when a
      work is infringed or altered. Section 504 of the Copyright Act permits AAP to recover
      actual damages plus “any additional profits of the infringer that are attributable to the
      infringement and are not taken into account in computing the actual damages,” or
      statutory damages of up to $150,000 per work infringed if the registration predated the
      infringement. AAP can present both damages theories to the jury and select the higher
      award any time prior to entry of judgment.

      Academic studies have demonstrated that the use of good quality photographs more
      effectively market and advertise products and drive sales. AAP’s photographs are of the
      highest quality. AAP’s photographs are also scarce since it is one of the only sources of
      such quality photographs.

      AAP’s damages are not limited to what it would have agreed to license the Work for
      prior to the infringement. Rather, AAP’s actual damages will be measured by the fair
      market value of the photograph considering BAR Invest Realty’s use to sell and promote
      its business. AAP’s actual damages must be measured in light of BAR Invest Realty’s
      use of AAP’s high quality and unique Work.

      This is consistent with federal courts’ approach to broadly construing the term “actual
      damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
      (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
      approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
      Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
      addition, AAP can offer evidence of the actual cost to take the photograph infringed on a
      time and materials basis.

      Section 504 permits AAP to recover actual damages plus “any additional profits of the
      infringer that are attributable to the infringement and are not taken into account in
      computing the actual damages.” Therefore, AAP will also be entitled to BAR Invest
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      Mr. Herve Barbera
      Mr. Philippe Kalifa
      Beycome Brokerage Realty LLC
      Bar Invest Consulting LLC
      April 25, 2019
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      Realty’s profits from the infringement, based upon the revenue BAR Invest Realty
      earned in connection with the use of AAP’s Work.

      Alternatively, AAP could seek statutory damages for infringement in an amount of up
      to $30,000 per work infringed if the registration predated the infringement. There is also
      the possibility that a judge or jury could determine that BAR Invest Realty’s
      infringement was willful. If BAR Invest Realty’s infringement was shown to be willful,
      the statutory damage award would increase to an amount up to $150,000 per work
      infringed.

      There is also the issue of the removal of AAP’s copyright management information. The
      Digital Millennium Copyright Act, 17 U.S.C. § 1203(c)(3)(B), permits AAP to recover
      statutory damages of not less than $2,500 or more than $25,000 per violation of the
      prohibition against alteration or removal of copyright management information
      contained in § 1202. Based upon BAR Invest Realty’s removal of AAP’s copyright
      management information, AAP will seek the maximum statutory damages of $25,000
      per photograph against BAR Invest Realty for this violation.

      Demand
      In order to determine how to proceed, please provide us with information and
      documents showing:

      1.     the full nature and extent of the use of our client's Work, in any and all formats;

      2.     representative copies in any and all tangible form and media in which our
             client's Work was incorporated or employed; and

      3.     the source of the Work.

      Upon receipt of this information we will consider and determine an appropriate amount
      required to be paid to our client in compensation.

      Please carefully consider this letter and the associated exhibits and provide them to your
      attorneys and insurance carriers. If we do not receive a response from you or a
      representative by May 9, 2019, we will take further steps to protect our client’s rights.

      We look forward to your prompt response.

      Sincerely,
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      Mr. Herve Barbera
      Mr. Philippe Kalifa
      Beycome Brokerage Realty LLC
      Bar Invest Consulting LLC
      April 25, 2019
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      SRIPLAW




      Ana P. Moretto

      APM/jcj
      Enclosures
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Residential Full Report         3475 Harbor Road N, Jupiter, FL 33469                         List Price: $524,900
           Case 1:20-cv-20520-RNS   Document      1-3 Entered onSt:
                                          MLS#: RX-10460239
                                                                      FLSD
                                                                       Active
                                                                              Docket 02/05/2020       Page 14 of 23
                                                                                        Type: Single Family Detached
                                                            Orig LP: $534,500             Range Price:         List Price/SqFt: 520.73
                                                            Area: 5060                    Geo Area: PB32       County: Palm Beach
                                                            Legal Desc: JUPITER HEIGHTS LTS 10 & 11 BLK 1
                                                            Subdivision: JUPITER HEIGHTS
                                                            Development Name:
                                                            Model              Parcel ID:                 00434030020010100 Front Exp:                               S
                                                            Name:              Waterfrontage:                                   Garage Spaces:                       2
                                                            Waterfront: No     Multiple Ofrs Acptd:                             Carport Spaces:
                                                                        100.0 Taxes:                               7,864.07               Private Pool:              No
                                                            Lot         ft x 0.0
                                                            Dimensions: ft       Tax Year:                         2017                   REO:                       No
                                                            Lot SqFt:   11,960 Special Assessment:                 No                     Short Sale Addendum: No
                                                                           No      Dock:                                                  Short Sale:                No
                                                            HOPA:          Hopa    Membership Fee Required:        No                     Owner/Agent:               No
                                                            Zoning:        RS

Virtual Tour:
Living Room                 12 X 14      Master Bedroom                      12 X 14 LivSqFt: 1,008                                  Bedrooms: 2
Kitchen                     8 X 10       Bedroom 2                           10 X 12 SqFt - Total: 2,203                             Baths - Full: 2
Dining Room                 10 X 12                                                        SqFt Source: Appraisal                    Baths - Half: 0
                                                                                           Guest Hse:                                Baths - Total: 2
                                                                                           Yr Built: 1977                            Pets Allowed: Yes
                                                                                           Builder Name:
                                                                                           Built Desc: Resale
HOA/POA/COA (Monthly):                              Bldg #:                                      Land Lease:                      Mobile Home Size:
Governing Bodies:      None                         Total Floors/Stories:  1                     Recreation Lease:                Decal #:
Homeowners Assoc:      None                         Total Units in Bldg:                         Min Days to Lease:               Serial #:
Lease Times p/Year:                                 Ttl Units in Complex:                                                         Brand Name:
Application Fee:                                    Unit Floor #:                                                                 Total Assessed Value:
                                                    Membership Fee Amount:
 Auction: No
 Directions: Keep right to continue on Lake Victoria Gardens Ave Turn right onto FL-811 N/FL A1AAlt N (signs for 811) Turn left onto US-1 N Turn right onto Harbor Rd
 N
 Showing Instructions: Call Owner; See Brokers Remarks
 LO: 279508652                BAR Invest Realty LLC                   844-239-2663
 LM: 277037481                Herve Fabrice Barbera                   +1 844-239-2663                                      contact@beycome.com
 Com/BuyerAgt: 2.5%           Comm/Non-Rep: $1                        Trans Brk: 2.5%                                      Bonus:                    LD: 08/30/2018
 Var/Dual Rate: No            List Type: Ex Brk w/Limit Svc           List Off Agency: Non Representative
 Owner Name: COOK KENNETH P 561-876-6564
 Broker Only Remarks: For showings or for more information contact Kenneth 561-876-6564
 Any Broker Advertise: No
Design:                                                                           View:
Construction: Block; Frame/Stucco                                                 Waterfront Details: None
Unit Desc:                                                                        Cooling: Ceiling Fan; Central
Flooring: Tile                                                                    Heating: Electric
Furnished: Unfurnished                                                            Security: Fence
Dining Area: Eat-In Kitchen                                                       Utilities: Electric; Public Water; Septic
Master Bedroom/Bath: Combo Tub/Shower                                             Special Info:
Window Treatments: Thermal                                                        Terms Considered: Cash; Conventional; FHA; VA
Lot Description: 1/4 to 1/2 Acre                                                  Roof: Comp Shingle
Storm Protection:                                                                 Taxes: City/County; Homestead
Restrict: None                                                                    Equestrian Features:
Rooms: Workshop
Equip/Appl:Dishwasher; Disposal; Microwave; Range - Electric; Refrigerator; Smoke Detector
SubdivInfo:None
Interior:French Door; W/D Hookup; Walk-in Closet
Exterior:Auto Sprinkler; Covered Patio; Custom Lighting
Maintenance Fee Incl:
Original List Price: $534,500
Days On Market: 47                                                                    Cumulative DOM: 47
Sold Price:                                         Sold Price Sqft:                                      Under Contract Date:
Selling Office:                                     Terms of Sale:                                        Sold Date:
Selling Agent:
Public Remarks:Location, Location,Location!!! East of US1 - 4 houses from Intracoastal. Dockage. Remodeled, large 2 bedroom, 2 bathroom home, and large stand
alone 900 sq ft garage sitting on 2 lots east of US1, (currently leased for storage), can hold up to 4 cars or make a great hobby/work shop. Plenty of room for boat/
trailer parking. Day dockage at end of street, Home has living room and 2 bonus rooms, impact windows, central ac, ceiling fans, updated kitchen, washer & dryer
hookups, tile throughout, remodeled bathrooms, fenced backyard, Great location to build much larger home in future using both lots. 536813
Information is deemed to be reliable, but is not guaranteed. © 2018 MLS and FBS. Prepared by Mateusz Rymarski on Tuesday, October 16, 2018 5:38 PM. The information on
this sheet has been made available by the MLS and may not be the listing of the provider.
        Case
History for   1:20-cv-20520-RNS
            MLS # RX-10460239     Document 1-3 Entered on
                              3475 Harbor Road N, Jupiter, FL 33469
                                                                        FLSD Docket 02/05/2020 Page 15 of 23$524,900


+ MLS #         Status                                     Price      % Change               Date    DOM      CDOM Address
                                                                                                                      3475
 - RX-10460239 Active                                   $524,900           17.3%       08/30/2018       47         47 Harbor
                                                                                                                      Road N
         -      Price Change                            $524,900           -1.4%       10/13/2018        3
                Change by: Herve Fabrice Barbera

                         Change at 4:26 PM Eastern: changed List Price
                                Old Value: 532500.00
                                New Value: 524900.00

         -      Text, etc.                              $532,500                       10/13/2018        3
                Change by: Herve Fabrice Barbera

                         Change at 12:42 PM Eastern: changed Public Remarks
                                Old Value: Cute Single family home sitting on 2 lots east of US1, with stand alone
                                large garage (currently leased for storage), day dockage at end of street, 2 bedroom,
                                2 bathroom, living room, bonus room, central ac, ceiling fans, updated kitchen,
                                washer & dryer hookups, fenced backyard, 4 houses from intracoastal, garage is
                                deep and could hold 4 cars or make a great hobby/work shop. Plenty of room for
                                boat/trailer parking. Great location to build much larger home in future using both
                                lots. Recent complete remodel, impact windows, tile throughout, updated bathrooms.
                                ID 536813
                                New Value: Location, Location,Location!!!

         -      Price Change                            $532,500           -0.4%       10/02/2018       14
                Change by: Herve Fabrice Barbera

                         Change at 3:47 PM Eastern: changed List Price
                                Old Value: 534500.00
                                New Value: 532500.00

         -      Photos                                  $534,500                       08/31/2018       46
                Change by: Herve Fabrice Barbera

                         Change at 5:19 PM Eastern: Added photo "15"
                         Change at 5:19 PM Eastern: Added photo "14"
                         Change at 5:19 PM Eastern: Added photo "13"
                         Change at 5:19 PM Eastern: Removed photo
                         Change at 5:19 PM Eastern: Added photo "12"
                         Change at 5:19 PM Eastern: Added photo "11"
                         Change at 5:19 PM Eastern: Added photo "10"
                         Change at 5:19 PM Eastern: Added photo "9"
                         Change at 5:19 PM Eastern: Added photo "8"
                         Change at 5:19 PM Eastern: Added photo "7"
                         Change at 5:19 PM Eastern: Added photo "6"
                         Change at 5:19 PM Eastern: Added photo "5"
                         Change at 5:19 PM Eastern: Added photo "4"
                         Change at 5:19 PM Eastern: Added photo "3"
                         Change at 5:19 PM Eastern: Added photo "2"
                         Change at 5:19 PM Eastern: Added photo "1"

         -      New                                     $534,500                       08/30/2018       47
                Change by: Herve Fabrice Barbera

                         Change at 5:55 PM Eastern: Added new listing
      Case 1:20-cv-20520-RNS Document 1-3 Entered on FLSD Docket 02/05/2020 Page 16 of 23
                                                                                        3475
- RX-10309595 Cancelled                             $447,500                    07/26/2017   159   159 Harbor
                                                                                                       Road N
       -      Status                                $447,500                    07/26/2017     0
              Change by: Jo Ann Jacobson

                       Change at 11:33 AM Eastern: changed Status
                              Old Value: Active
                              New Value: Cancelled

       -      HOA/POA/COA (Monthly)                 $447,500                    07/26/2017     0
              Change by: Jo Ann Jacobson

                       Change at 11:33 AM Eastern: changed Cancel Date
                              Old Value:
                              New Value: 7/26/2017
                       Change at 11:33 AM Eastern: changed HOA/POA/COA (Monthly)
                              Old Value:
                              New Value: 0.00

       -      Price Change                          $447,500            -7.7%   06/08/2017    48
              Change by: Jo Ann Jacobson

                       Change at 4:29 PM Eastern: changed List Price
                              Old Value: 485000.00
                              New Value: 447500.00

       -      Text, etc.                            $485,000                    02/20/2017   156
              Change by: Jo Ann Jacobson

                       Change at 4:06 PM Eastern: changed REO
                              Old Value: Yes
                              New Value: No

       -      Text, etc.                            $485,000                    02/19/2017   157
              Change by: Jo Ann Jacobson

                       Change at 12:34 PM Eastern: changed Year Built
                              Old Value: 1977.00
                              New Value: 1973.00

       -      New                                   $485,000                    02/18/2017   158
              Change by: Jo Ann Jacobson

                       Change at 9:58 PM Eastern: Added photo "IMG_4385"
                       Change at 9:58 PM Eastern: Added photo "IMG_4385"
                       Change at 9:49 PM Eastern: Added photo "IMG_4384"
                       Change at 9:49 PM Eastern: Added photo "IMG_4384"
                       Change at 9:46 PM Eastern: Added photo "IMG_4374"
                       Change at 9:45 PM Eastern: Added photo "IMG_4373"
                       Change at 9:44 PM Eastern: Added photo "IMG_4374"
                       Change at 9:44 PM Eastern: Added photo "IMG_4373"
                       Change at 4:42 PM Eastern: changed Public Remarks
                              Old Value: UT CAN BE SEPARATED FOR INVEST
                              New Value: UT CAN BE DIVIDED BACK TO 2 SE
                       Change at 4:42 PM Eastern: changed Baths - Half
                              Old Value: 2.00
                              New Value: 0.00
                       Change at 4:42 PM Eastern: changed Lot Dimensions
                              Old Value: 5980 SQ FT
Case 1:20-cv-20520-RNS Document 1-3 Entered on FLSD Docket 02/05/2020 Page 17 of 23
                    New Value: 100' X 120'
             Change at 4:14 PM Eastern: Added new listing
       Case
Photos for MLS1:20-cv-20520-RNS
               # RX-10460239      Document 1-3 Entered on
                              3475 Harbor Road N, Jupiter, FL 33469
                                                                      FLSD Docket 02/05/2020 Page 18 of 23$524,900


                                    1                                              2




                                    3                                              4




                                    5                                              6




                                                                  copyright management information removed
MLS # RX-10460239 3475 Harbor Road N, Jupiter,
        Case 1:20-cv-20520-RNS                 FL 33469
                                         Document         1-3 Entered on FLSD Docket 02/05/2020 Page 19 of 23   $524,900


                                         7                                          8




                                         9                                          10




                                        11                                          12
MLS # RX-10460239 3475 Harbor Road N, Jupiter,
        Case 1:20-cv-20520-RNS                 FL 33469
                                         Document         1-3 Entered on FLSD Docket 02/05/2020 Page 20 of 23   $524,900


                                        13                                          14




                                        15
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      April 25, 2019

      VIA FEDEX and E-MAIL: contact@beycome.com
      Mr. Herve Barbera
      Mr. Philippe Kalifa
      Beycome Brokerage Realty LLC
      Bar Invest Consulting LLC
      701 Brickell Ave, Suite 2040
      Miami, FL 33131

      Re: Affordable Aerial Photography, Inc. v. Beycome Brokerage Realty LLC f/k/a
          BAR Invest Realty LLC, and Bar Invest Consulting LLC f/k/a Bar Invest Realty
          LLC
          Our File No. 00022-0058

      Dear Messrs.,

      We write pursuant to § 627.4137, Florida Statutes, to demand a response with insurance
      information for each known policy of liability insurance your clients may have that may
      provide coverage for all or a portion of our client’s claims in this matter:

         (a) the name of the insurer;
         (b) the name of each insured;
         (c) the limits of the liability coverage;
         (d) a statement of any policy or coverage defense which such insurer reasonably
             believes is available to such insurer at the time of filing such statement; and
         (e) a copy of the policy.

      Thank you in advance for your anticipated cooperation.

      Sincerely,

      SRIPLAW




      Ana P. Moretto

      APM/jcj
Case 1:20-cv-20520-RNS Document 1-3 Entered on FLSD Docket 02/05/2020 Page 23 of 23




      June 14, 2019

      VIA FEDEX and EMAIL: contact@beycome.com
      Mr. Herve Barbera
      Bar Invest Consulting LLC fka Bar Invest Realty LLC
      701 Brickell Avenue
      Suite 2040
      Miami, FL 33131

      Re: Affordable Aerial Photography, Inc. v. Beycome Brokerage Realty LLC fka BAR
          Invest Realty LLC & Bar Invest Consulting LLC fka Bar Invest Realty LLC
          Our File No.: 00022-0058

      Dear Mr. Barbera,

      We write this follow up letter on behalf of our client Affordable Aerial Photography, Inc.,
      for the purposes of resolving a case of copyright infringement against you by our client.
      This demand is privileged from disclosure pursuant to FRE Rule 408.

      Enclosed please find our prior letter dated April 25, 2019, wherein we detailed the basis
      of the copyright infringement claim against you, including the evidence of infringement.

      We note that a review of the accused infringing webpage shows that the infringement
      has been removed. However, this does not dispose of our client’s claim. It is imperative
      that you respond to us. If we do not hear back from you, we will be forced to take
      further steps to protect our client’s rights including by filing a lawsuit against you. We
      also repeat our demand that you tender this claim to your insurance carrier. We look
      forward to your prompt response.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/jcj
      Enclosures
